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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

EASTERN DIVISION
CARLA HOOVER, et al., : Case No. 2:19-cv-01453
Plaintiffs, : Judge George C. Smith
Vv. : Magistrate Judge Kimberly A. Jolson

STEVEN G. ROSSER, et al.,
JURY DEMAND ENDORSED HEREON
Defendants.

 

DEFENDANTS STEVEN G. ROSSER AND WHITNEY R. LANCASTER’S
ANSWER TO PLAINTIFFS’ AMENDED COMPLAINT

 

Now come Defendants Steven G. Rosser and Whitney R. Lancaster (“Defendant Officers”)
by and through counsel, and hereby state their Answer to Plaintiffs’ Amended Complaint as
follows:

I. Preliminary Statement

1, Defendant Officers deny each and every allegation contained in Paragraph | of

Plaintiffs’ Amended Complaint.
Il. Jurisdiction and Venue

2. Defendant Officers admit that this Court has jurisdiction. Further answering, to the
extent that any other allegations are made against Defendant Officers in Paragraph 2 of Plaintiffs’
Amended Complaint, Defendant Officers deny the same.

3. Paragraph 3 of Plaintiffs’ Amended Complaint contains legal conclusions to which
no response is required, To the extent that any allegations are made against Defendant Officers in

Paragraph 3, Defendant Officers deny the same,

 
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4, Paragraph 4 of Plaintiffs’ Amended Complaint contains legal conclusions to which
no response is required. To the extent that any allegations are made against Defendant Officers in
Paragraph 4, Defendant Officers deny the same.

5, Defendant Officers admit that venue is proper in this forum. Further answering, to
the extent that any other allegations are made against Defendant Officers in Paragraph 5 of
Plaintiffs’ Amended Complaint, Defendant Officers deny the same.

Ill. Parties

6. Defendant Officers admit that Carla Hoover has worked at Kahoots. Defendant
Officers deny the remaining allegations in Paragraph 6 of Plaintiffs’ Amended Complaint for want
of information sufficient upon which to form a belief.

7. Defendant Officers admit that Emily Haudenschield has worked at Kahoots.
Defendant Officers deny the remaining allegations in Paragraph 7 of Plaintiffs’ Amended
Complaint for want of information sufficient upon which to form a belief.

8. Defendant Officers admit that Brittany Yates has worked at Kahoots. Defendant
Officers deny the remaining allegations in Paragraph 8 of Plaintiffs’ Amended Complaint for want
of information sufficient upon which to form a belief.

9, Defendant Officers admit that Danielle Calderon has worked at Kahoots. Defendant
Officers deny the remaining allegations in Paragraph 9 of Plaintiffs’ Amended Complaint for want
of information sufficient upon which to form a belief.

10. Defendant Officers admit that Ashley Graves has worked at Kahoots. Defendant
Officers deny the remaining allegations in Paragraph 10 of Plaintiffs’ Amended Complaint for

want of information sufficient upon which to form a belief.
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11. Defendant Officers admit that Chelsea Paige Ewart has worked at Kahoots.
Defendant Officers deny the remaining allegations in Paragraph 11 of Plaintiffs’ Amended
Complaint for want of information sufficient upon which to form a belief.

12. Defendant Officers admit that they are being sued in their individual capacity and
also admit that they are and were employees of the City of Columbus, Columbus Police
Department in the Vice Unit located in Franklin County, Ohio. Defendant Officers deny any and
all remaining allegations in Paragraph 12.

13. Defendant Officers admit the allegations contained in Paragraph 13 of Plaintiffs’
Amended Complaint.

IV. Factual Allegations

14, Defendant Officers admit the allegation contained in Paragraph 14 of Plaintiffs’
Amended Complaint that they are aware of all of the elements of the laws they are required to
enforce. Further answering, to the extent any other allegations are made against Defendant Officers
in Paragraph 14, Defendant Officers deny the same.

15. Defendant Officers admit that they have access to a book containing the elements
of City and State Criminal offenses, including the elements associated with R.C. 2907.40(C)(2).

16. Paragraph 16 of Plaintiffs’ Amended Complaint contains legal conclusions to
which no response is required. R.C. § 2907.40(C)(2) speaks for itself, and to the extent that any
allegations are made against Defendant Officers in Paragraph 16, Defendant Officers deny the
same.

17.‘ Paragraph 17 of Plaintiffs’ Amended Complaint contains legal conclusions to

which no response is required. R.C. § 2907.40(C)(2) speaks for itself, and to the extent that any
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allegations are made against Defendant Officers in Paragraph 17, Defendant Officers deny the
same,

18. Defendant Officers admit the allegations contained in Paragraph 18 of Plaintiffs’
Amended Complaint,

19. Defendant Officers deny each and every allegation contained in Paragraph 19 of
Plaintiffs’ Amended Complaint.

20. Defendant Officers deny each and every allegation contained in Paragraph 20 of
Plaintiffs’ Amended Complaint.

21. Defendant Officers admit that they spent hours in Kahoots while in their official
capacity. Further answering, Defendant Officers deny any and all remaining allegations in
Paragraph 21 of Plaintiffs’ Amended Complaint.

22. Defendant Officers deny each and every allegation contained in Paragraph 22 of
Plaintiffs’ Amended Complaint.

23. Defendant Officers deny each and every allegation contained in Paragraph 23 of
Plaintiffs’ Amended Complaint for want of information sufficient upon which to form a belief.

24. Defendant Officers deny each and every allegation contained in Paragraph 24 of
Plaintiffs’ Amended Complaint.

25. Defendant Officers deny each and every allegation contained in Paragraph 25 of
Plaintiffs’ Amended Complaint for want of information sufficient upon which to form a belief.

26. Defendant Officers deny each and every allegation contained in Paragraph 26 of
Plaintiffs’ Amended Complaint for want of information sufficient upon which to form a belief.

27. Defendant Officers deny each and every allegation contained in Paragraph 27 of

Plaintiffs’ Amended Complaint for want of information sufficient upon which to form a belief.
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28. Defendant Officers deny each and every allegation contained in Paragraph 28 of
Plaintiffs’ Amended Complaint.

29. Defendant Officers deny each and every allegation contained in Paragraph 29 of
Plaintiffs’ Amended Complaint for want of information sufficient upon which to form a belief.

30. Defendant Rosser denies each and every allegation contained in Paragraph 30 of
Plaintiffs’ Amended Complaint.

31. Defendant Rosser denies each and every allegation contained in Paragraph 31 of
Plaintiffs’ Amended Complaint.

32. Defendant Rosser denies each and every allegation contained in Paragraph 32 of
Plaintiffs’ Amended Complaint.

33. Defendant Rosser denies the allegations contained in Paragraph 33 of Plaintiffs’
Amended Complaint.

34. Defendant Officers deny each and every allegation contained in Paragraph 34 of
Plaintiffs’ Amended Complaint.

35. Defendant Officers admit that they have filed charges against employees of
Kahoots. Further answering, Defendant Officers assert that each of those charges was filed based
on probable case. Defendant Officers deny each and every remaining allegation in Paragraph 35
of Plaintiffs’ Amended Complaint. .

36. Defendant Officers deny each and every allegation contained in Paragraph 36 of
Plaintiffs’ Amended Complaint.

37. Defendant Officers deny each and every allegation contained in Paragraph 37 of

Plaintiffs’ Amended Complaint.
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a. Factual Allegations Related to Carla Hoover

38. | Defendant Rosser admits the allegations contained in Paragraph 38 of Plaintiffs’
Amended Complaint.

39. Defendant Rosser states that the affidavit speaks for itself, and to the extent the
allegations in Paragraph 39 of Plaintiffs’ Amended Complaint vary therefrom, Defendant Rosser
denies those allegations.

40. Defendant Rosser admits the allegations contained in Paragraph 40 of Plaintiffs’
Amended Complaint. Further answering, Defendant Rosser states that the criminal complaint
speaks for itself, and to the extent the allegations in Paragraph 40 vary therefrom, Defendant
Rosser denies those allegations.

41. Defendant Officers admit the allegations contained in Paragraph 41 of Plaintiffs’
Amended Complaint.

42. Defendant Officers deny for want of sufficient knowledge the allegation that Ms.
Hoover challenged the criminal complaint filed against her for the reason set forth in Paragraph
42 of Plaintiffs’ Amended Complaint. Further answering, Defendant Rosser asserts that Ms.
Hoover was working at Kahoots when Defendant Rosser witnessed her violate R.C.
2907.40(C)(2).

43, Defendant Lancaster admits that he filed a criminal complaint against Ms. Hoover.
Further answering, Defendant Lancaster states that the criminal complaint speaks for itself, and to
the extent the allegations in Paragraph 43 of Plaintiffs’ Amended Complaint vary therefrom,
Defendant Lancaster denies those allegations.

44. Defendant Officers admit the allegations contained in Paragraph 44 of Plaintiffs’

Amended Complaint.
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45. Defendant Officers deny each and every allegation contained in Paragraph 45 of
Plaintiffs’ Amended Complaint,

46. Defendant Officers deny each and every allegation contained in Paragraph 46 of
Plaintiffs’ Amended Complaint.

47, Defendant Officers deny each and every allegation contained in Paragraph 47 of
Plaintiffs’ Amended Complaint.

48. Defendant Officers deny each and every allegation contained in Paragraph 48 of
Plaintiffs’ Amended Complaint.

49, Defendant Officers deny each and every allegation contained in Paragraph 49 of
Plaintiffs’ Amended Complaint.

50. Defendant Officers admit the allegations contained in Paragraph 50 of Plaintiffs’
Amended Complaint.

b. Factual Allegations Related to Emily Haudenschield

51. Defendant Rosser admits the allegations contained in Paragraph 51 of Plaintiffs’
Amended Complaint. Further answering, Defendant Rosser states that the criminal complaint
speaks for itself, and to the extent the allegations in Paragraph 51 vary therefrom, Defendant
Rosser denies those allegations.

52. Defendant Officers admit the allegations contained in Paragraph 52 of Plaintiffs’
Amended Complaint.

53. Defendant Rosser denies each and every allegation contained in Paragraph 53 of
Plaintiffs’ Amended Complaint.

54. Defendant Rosser denies each and every allegation contained in Paragraph 54 of

Plaintiffs’ Amended Complaint.
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55. Defendant Rosser denies each and every allegation contained in Paragraph 55 of
Plaintiffs’ Amended Complaint.

56. Defendant Officers admit the allegations contained in Paragraph 56 of Plaintiffs’
Amended Complaint.

c. Factual Allegations Related to Brittany Yates

57. Defendant Rosser admits the allegations contained in Paragraph 57 of Plaintiffs’
Amended Complaint. Further answering, Defendant Rosser states that the criminal complaint
speaks for itself, and to the extent the allegations in Paragraph 57 vary therefrom, Defendant
Rosser denies those allegations.

58. Defendant Officers admit the allegations contained in Paragraph 58 of Plaintiffs’
Amended Complaint.

59, | Defendant Rosser denies each and every allegation contained in Paragraph 59 of
Plaintiffs’ Amended Complaint.

60. | Defendant Rosser denies each and every allegation contained in Paragraph 60 of
Plaintiffs’ Amended Complaint.

61. Defendant Rosser denies each and every allegation contained in Paragraph 61 of
Plaintiffs’ Amended Complaint.

62. Defendant Officers admit the allegations contained in Paragraph 62 of Plaintiffs’
Amended Complaint.

d. Factual Allegations Related to Danielle Calderon

63. Defendant Rosser admits the allegations contained in Paragraph 63 of Plaintiffs’

Amended Complaint.
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64. Defendant Officers admit the allegations contained in Paragraph 64 of Plaintiffs’
Amended Complaint.

65. Defendant Rosser denies each and every allegation contained in Paragraph 65 of
Plaintiffs’ Amended Complaint.

66. Defendant Rosser denies each and every allegation contained in Paragraph 66 of
Plaintiffs’ Amended Complaint.

67. Defendant Rosser denies each and every allegation contained in Paragraph 67 of
Plaintiffs’ Amended Complaint

68. Defendant Officers admit the allegations contained in Paragraph 68 of Plaintiffs’
Amended Complaint.

e. Factual Allegations Related to Ashley Graves

69. Defendant Lancaster admits the allegations contained in Paragraph 69 of Plaintiffs’
Amended Complaint. Further answering, Defendant Lancaster states that the criminal complaint
speaks for itself, and to the extent the allegations in Paragraph 69 vary therefrom, Defendant
Lancaster denies those allegations.

70. Defendant Officers admit the allegations contained in Paragraph 70 of Plaintiffs’
Amended Complaint.

71. Defendant Lancaster denies each and every allegation contained in Paragraph 71 of
Plaintiffs’ Amended Complaint.

72. Defendant Lancaster denies each and every allegation contained in Paragraph 72 of
Plaintiffs’ Amended Complaint.

73. Defendant Lancaster denies each and every allegation contained in Paragraph 73 of

Plaintiffs’ Amended Complaint.
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74. Defendant Officers admit the allegations contained in Paragraph 74 of Plaintiffs’
Amended Complaint.

f. Factual Allegations Related to Chelsea Ewart

75. Defendant Lancaster admits the allegations contained in Paragraph 75 of Plaintiffs’
Amended Complaint. Further answering, Defendant Lancaster states that the criminal complaint
speaks for itself, and to the extent the allegations in Paragraph 75 vary therefrom, Defendant
Lancaster denies those allegations.

76. Defendant Officers admit the allegations contained in Paragraph 76 of Plaintiffs’
Amended Complaint.

77. Defendant Lancaster denies each and every allegation contained in Paragraph 77 of
Plaintiffs’ Amended Complaint.

78. Defendant Lancaster denies each and every allegation contained in Paragraph 78 of
Plaintiffs’ Amended Complaint.

79. Defendant Lancaster denies each and every allegation contained in Paragraph 79 of
Plaintiffs’ Amended Complaint.

80. Defendant Officers admit the allegations contained in Paragraph 80 of Plaintiffs’
Amended Complaint.

81. Defendant Officers deny each and every allegation contained in Paragraph 81 of
Plaintiffs’ Amended Complaint.

82. Defendant Officers deny each and every allegation contained in Paragraph 82 of

Plaintiffs’ Amended Complaint.

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83. Paragraph 83 of Plaintiffs’ Amended Complaint contains legal conclusions to
which no response is required. To the extent that any allegations are made against Defendant
Officers in Paragraph 83, Defendant Officers deny the same.

84. Defendant Officers admit the allegations contained in Paragraph 84 of Plaintiffs’
Amended Complaint.

V. Claims for Relief

85. Defendant Officers deny each and every allegation contained in Paragraphs 1
through 84 of Plaintiffs’ Amended Complaint that have not been specifically admitted to be true.

86. Defendant Officers deny each and every allegation contained in Paragraphs 85, 86,
87, 88, 89, 90, 91, 92, 93, 94, 95, 96, 97, 98, 99, 100, 101, 102, 103, 104, 105, and 106 of Plaintiffs’
Amended Complaint.

VI. Affirmative Defenses
FIRST DEFENSE

87. Plaintiffs’ Amended Complaint fails to state a cause of action upon which relief can
be granted against Defendant Officers.

SECOND DEFENSE

88. Defendant Officers acted, at all times and in all material respects, in good faith,
without malice or ill will for Plaintiffs, and upon a reasonable belief that their actions were in
compliance with all applicable federal, state, and municipal laws and regulations, including all
administrative regulations, orders, and practices of the Department of Public Safety, the Columbus

Division of Police, and the Vice Unit.

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THIRD DEFENSE
89, Defendant Officers acted, at all times and in all material respects, in good faith,
without malice or ill will for Plaintiffs, and upon a reasonable belief that Plaintiffs had violated
R.C. §2907.40(C)(2), a law which had not been repealed, had not been declared unconstitutional,
and had been consistently enforced prior to September 15, 2017.
FOURTH DEFENSE
90. Defendant Officers’ actions towards Plaintiffs were based on probable cause and
were neither retaliatory nor motivated by personal reasons.
FIFTH DEFENSE
91. Defendant Officers are entitled to qualified immunity.
SIXTH DEFENSE
92. Plaintiffs’ Amended Complaint is barred in whole or in part by R.C. Chapter 2744
et seq. and/or common law political subdivision immunity.
SEVENTH DEFENSE
93. Plaintiffs’ Amended Complaint failed to name necessary and indispensable parties.
EIGHTH DEFENSE
94. ‘Plaintiffs have failed to mitigate their alleged injuries, losses, and damages, the
existence of which Defendant Officers deny,
NINTH DEFENSE
95. Defendant Officers reserve the right to assert additional defenses as may become

necessary through the course of discovery.

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Respectfully submitted,

/s/ Larry H, James

Larry H. James — Trial Attorney (0021773)
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and Whitney R. Lancaster

JURY DEMAND
Defendant Officers request a trial by a jury pursuant to the Federal Rules of Civil

Procedure.
Respectfully submitted,

/s/ Larry H. James
Larry H. James (0021773)

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CERTIFICATE OF SERVICE

I hereby certify that on September 13, 2019, I filed the foregoing Answer with the Clerk
of Courts for the United States District Court for the Southern District of Ohio, Eastern Division,
and a copy of the foregoing was duly served via the Court’s electronic filing system, upon the
following:

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{s/_Larry H. James

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